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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, LP,                                §              Case No. 17-40179
                                                            §              Chapter 7
         DEBTOR.                                            §


JASON R. SEARCY, CHAPTER 11,                                §
TRUSTEE FOR PAYSON                                          §
PETROLEUM, INC.,                                            §
                                                            §
      Plaintiff,                                            §
                                                            §
vs.                                                         §              Adversary No. 18-04074
                                                            §
ACME ENERGY COMPANY, LLC, ET AL.,                           §
                                                            §
      Defendants.                                           §

                           PLAINTIFF’S NOTICE OF DISMISSAL OF
                          DEFENDANT JAMES DANIEL CARROLL, JR.

         Plaintiff Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc. (“Plaintiff”) files

his notice of dismissal of Defendant James Daniel Carroll, Jr. under Federal Rule of Civil

Procedure 41(a)(1)(A)(i) made applicable by Federal Rule of Bankruptcy Procedure 7041.

         1.        Plaintiff is Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc.

         2.        On September 12, 2018, Plaintiff sued 109 defendants in the above-captioned

adversary proceeding, including Defendant James Daniel Carroll, Jr.

         3.        Defendant James Daniel Carroll, Jr. has been served with process and has not

served an answer or a motion for summary judgment.

         4.        This case is not a class action under Federal Rule of Civil Procedure 23, a derivative

action under Rule 23.1, or an action related to an unincorporated association under Rule 23.2.



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       5.      A receiver has not been appointed in this case.

       6.      This case is not governed by any federal statute that requires a court order for

dismissal of the case.

       7.      Plaintiff has not previously dismissed any federal- or state-court suit based on or

including the same claims as those presented in this case.

       8.      Only Defendant James Daniel Carroll, Jr. is dismissed from the above-captioned

adversary proceeding.

       9.      This dismissal is without prejudice.

                                                       Respectfully submitted,

                                                       SNOW SPENCE GREEN LLP




                                                       By:____________________
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                                                       Attorneys for Jason R. Searcy,
                                                       Trustee for Payson Petroleum, Inc.




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                                            CERTIFICATE OF SERVICE

       I, the undersigned, certify that on the 8th day of October 2018, a true and correct copy of
the above and foregoing was served upon all parties via the Court’s electronic case filing system
(ECF) and by first class mail, postage prepaid to Defendant as follows:

Defendant
James Daniel Carroll, Jr.
2505 Ridgmoor Court
Arlington, TX 76016


                                                              /s/ Blake Hamm
                                                              Blake Hamm




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